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                                                                                                   Reset Form

 1                                   UNITED STATES DISTRICT COURT
 2                                 NORTHERN DISTRICT OF CALIFORNIA
 3                                                   )
     Riana Buffin, Crystal Patterson, et. al                      15-cv-4959 YGR
                                                     )   Case No: _______________
 4                                                   )
                                     Plaintiff(s),   )   APPLICATION FOR
 5                                                   )   ADMISSION OF ATTORNEY
             v.
                                                     )   PRO HAC VICE AND ORDER
 6   City and County of San Francisco, et al         )   (CIVIL LOCAL RULE 11-3)
                                                     )
 7
                                     Defendant(s).   )
                                                     )
 8
         I, Alexander Karakatsanis                , an active member in good standing of the bar of
 9   the District of Columbia      , hereby respectfully apply for admission to practice pro hac vice in the
10   Northern District of California representing: Riana Buffin, Crystal Patterson, et. al      in the
     above-entitled action. My local co-counsel in this case is __________________________________,
                                                                Phil Telfeyan                           an
11   attorney who is a member of the bar of this Court in good standing and who maintains an office
12   within the State of California.
       MY ADDRESS OF RECORD:                               LOCAL CO-COUNSEL’S ADDRESS OF RECORD:
13
      601 Pennsylvania Avenue NW                          601 Pennsylvania Avenue NW
14    Washington, D.C. 20004                              Washington, D.C. 20004
       MY TELEPHONE # OF RECORD:                           LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD:
15    (202) 681-2409                                      (202) 505-2058
       MY EMAIL ADDRESS OF RECORD:                         LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD:
16    alec@equaljusticeunderlaw.org                       ptelfeyan@equaljusticeunderlaw.org
        I am an active member in good standing of a United States Court or of the highest court of
17   another State or the District of Columbia, as indicated above; my bar number is: 999294       .
18       A true and correct copy of a certificate of good standing or equivalent official document from said
     bar is attached to this application.
19      I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially the
     Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local Rules.
20
         I declare under penalty of perjury that the foregoing is true and correct.
21
      Dated: 12/31/15                                               Alexander Karakatsanis
22                                                                               APPLICANT

23
                                     ORDER GRANTING APPLICATION
24                             FOR ADMISSION OF ATTORNEY PRO HAC VICE
25       IT IS HEREBY ORDERED THAT the application of Alexander Karakatsanis                     is granted,
     subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney must indicate
26   appearance pro hac vice. Service of papers upon, and communication with, local co-counsel
27   designated in the application will constitute notice to the party.

28   Dated: January 5, 2016
                                                           UNITED STATES DISTRICT/MAGISTRATE JUDGE

     PRO HAC VICE APPLICATION & ORDER                                                                  October 2012
